CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 1Page
                                              01/22/2007    of 201PageID:
                                                                   of 20 1
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 2Page
                                              01/22/2007    of 202PageID:
                                                                   of 20 2
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 3Page
                                              01/22/2007    of 203PageID:
                                                                   of 20 3
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 4Page
                                              01/22/2007    of 204PageID:
                                                                   of 20 4
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 5Page
                                              01/22/2007    of 205PageID:
                                                                   of 20 5
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 6Page
                                              01/22/2007    of 206PageID:
                                                                   of 20 6
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 7Page
                                              01/22/2007    of 207PageID:
                                                                   of 20 7
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 8Page
                                              01/22/2007    of 208PageID:
                                                                   of 20 8
CaseCase
     1:07-cv-00349-RBK-JS Document
         1:33-av-00001 Document    1 Filed
                                614-1      01/22/07
                                        Filed        Page 9Page
                                              01/22/2007    of 209PageID:
                                                                   of 20 9
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 10
                                               01/22/2007     of 2010PageID:
                                                            Page      of 20 10
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 11
                                               01/22/2007     of 2011PageID:
                                                            Page      of 20 11
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 12
                                               01/22/2007     of 2012PageID:
                                                            Page      of 20 12
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 13
                                               01/22/2007     of 2013PageID:
                                                            Page      of 20 13
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 14
                                               01/22/2007     of 2014PageID:
                                                            Page      of 20 14
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 15
                                               01/22/2007     of 2015PageID:
                                                            Page      of 20 15
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 16
                                               01/22/2007     of 2016PageID:
                                                            Page      of 20 16
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 17
                                               01/22/2007     of 2017PageID:
                                                            Page      of 20 17
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 18
                                               01/22/2007     of 2018PageID:
                                                            Page      of 20 18
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 19
                                               01/22/2007     of 2019PageID:
                                                            Page      of 20 19
CaseCase
     1:07-cv-00349-RBK-JS Document
          1:33-av-00001 Document   1 Filed
                                 614-1      01/22/07
                                         Filed        Page 20
                                               01/22/2007     of 2020PageID:
                                                            Page      of 20 20
